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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 RAMON JAQUEZ, on behalf of himself
 and all others similarly situated,

                             Plaintiff,
                                                    Civil Case Number: 1:20-cv-06313-JMF
               -v-

 B.B. CRAFTS INC.,

                             Defendant.


                             [PROPOSED] DISMISSAL ORDER

IT IS HEREBY ORDERED:

       THAT pursuant to the parties’ November 25, 2020 Stipulation of Dismissal, all claims

asserted against Defendant in Civil Action No. 1:20-cv-06313-JMF, are dismissed with prejudice;

and

       THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.


SO ORDERED THIS _ 30th day of November 2020.


                                                                  ___________
                                             HONORABLE JESSE M. FURMAN
                                             UNITED STATES DISTRICT JUDGE
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        Case 1:20-cv-06313-JMF Document 17 Filed 11/30/20 Page 3 of 3




      November 25




November 30, 2020
